                Case 18-50214-rlj11 Doc 1 Filed 08/01/18                            Entered 08/01/18 09:52:03                   Page 1 of 5

Fill In this Information to Identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (1f known)     ---------------- Chapter                                       11
                                                                                                                           � Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               Reagor-Dykes Motors, LP

2.    All other names debtor      OBA     Spike Dykes Ford Lincoln
      used in the last 8 years
                                  OBA     Reagor Dykes Auto Mall of Midland
      Include any assumed         OBA     Prime Capital Auto Lease - Lamesa
      names, trade names and      OBA     Prime Capital Auto Lease - Midland
      doing business as names

3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                   business

                                  1215Ave.J
                                  Lubbock TX 79401
                                  Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                  Lubbock                                                           Location of principal assets, if different from principal
                                  County                                                            place of business
                                                                                                   1612 Lubbock Hwy. Lamesa, TX 79331
                                                                                                   Number, Street, City, State & ZIP Code


5.    Debtor's website (URL)


 6.   Type of debtor              l     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  Iv'   Partnersh•p (excluding LLP)
                                  I     Other. Specify




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 18-50214-rlj11 Doc 1 Filed 08/01/18                                Entered 08/01/18 09:52:03                   Page 2 of 5
                                                                                                                                            _
Debtor    Reagor-Dykes Motors, LP                                                                       Case number (1tknown) ______________ _
          Name


7.   Describe debtor's business        A. Check one:
                                       r      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       I'     Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                       I      Railroad (as defined in 11 U.S.C. § 101(44))
                                       n      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       n      Commodity Broker(as defined in 11 U.S.C. § 101(6))
                                       17     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       r7     None of the above

                                       B Check al/ that apply
                                       I, Tax-exempt entity (as described in 26 U S.C. §501)
                                       I Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       I Investment adv•sor {as defined in 15 U.S.C. §80b-2(a)(11 ))
                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-nationaI-a ssociation-naics-codes.
                                                 4411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                       17     Chapter7
     debtor filing?
                                       I:     Chapter9
                                       1'7:   Chapter 11 Check al/ that apply:
                                                              I    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2.566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that)
                                                              I    The debtor Is a small business debtor as defined in 11 U.S.C. § 101 (51 D). If the debtor Is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(8).
                                                              �    A plan is being filed with this petition.
                                                              1[   Acceptances of the plan were solicited prepetition from one or more classes of creditors, ,n
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                              ['   The debtor is required to file periodic reports (for example, 1 OK and 100) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934 Fite the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                              I    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2
                                       1:     Chapter 12



9.   Were prior bankruptcy             [y7 No.
     cases filed by or against
     the debtor within the last 8      t, Yes
     years?
     If more than 2 cases, attach a
     separate list.                                District   ---------- When ________ Case number
                                                   District   __________ When ________ Case number


10, Are any bankruptcy cases           I No
    pending or being filed by a
    business partner or an             [y7 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     -------------------
                                                              See Attachment      Relationship
                                                   District   __________ When -------- Case number, if known




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                Case 18-50214-rlj11 Doc 1 Filed 08/01/18                             Entered 08/01/18 09:52:03                     Page 3 of 5
Debtor   Reagor-Dykes Motors, LP                                                                    Case number (1fknown) ________________
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                �         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                r7        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district

12. Does the debtor own or      fi' No
    have possession of any
    real property or personal   I, Yes.      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                             [°' It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                             C It needs to be physically secured or protected from the weather.
                                             [' It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                             r7 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                             r7 No
                                             j Yes      Insurance agency
                                                        Contact name
                                                         Phone



          Statistical and administrative information

13. Debtor's estimation of                 Check one:
    available funds
                                           ty' Funds will be available for distribution to unsecured creditors.
                                           ] After any administrative expenses are paid. no funds will be available to unsecured creditors

14. Estimated number of
    creditors
                                r  1-49                                            1 1,000-5,ooo
                                                                                   1 5001-10.000
                                                                                                                              D 25,001-50,000
                                rr.                                                r
                                [i 50-99                                                                                      [7 50,001-100,000
                                   100-199                                              10.001-25,ooo                         C More than100,000
                                   200-999

15. Estimated Assets             rr    $0 - s5o.ooo                                D $1,000,001 -$10 million                  [:,$500,000,001 -$1 billion

                                  r
                                       $50.001 - s100.000                          [it• $10,000,001 -$50 million              t, $1,000,000,001 -$10 billion
                                       s100.001.$500.000                           [" $50,000,001 -$100 million               [7 $10,000,000,001 -$50 billion
                                  r7   $500,001 -$1 million                        r7   $100,000,001 - $500 million           [J More than $50 billion



                                rr
16. Estimated liabilities          so -$50.000                                     r7 $1,000,001 -$10 million                 C,$500,000,001 -$1 billion
                                                                                                                              0$1,000,000,001-$10 billion
                                r
                                   $50.001 - s100.000                              [il $10,000,001 -$50 million
                                   s100.001 - s5oo.ooo                             r7 $50,000,001 -$100 million               [7 $10,000,000,001 -$50 billion
                                t, $500,001 -$1 million                            I $100,000,001 -$500 million               D  More than$50 billion




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                 Case 18-50214-rlj11 Doc 1 Filed 08/01/18                               Entered 08/01/18 09:52:03                Page 4 of 5
Debtor    Reagor-Dykes Motors, LP                                                                   Case number (If known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       08/01/2018


                                                                                                           Bart Reagor
                                                                       tive of debtor                      Printed name




                                                                                                           Rick Dykes
                                                                                                           Printed name

                                 Title   Managing Member of Reagor Auto Mall I,
                                         LLC, General Partner




                                                                                                                    08/01/2018

                                 David R. Langston 11923800
                                 Printed name

                                 Mullin Hoard & Brown L.L.P.
                                 Firm name

                                  P.O. Box 2585
                                  Lubbock, TX 79408
                                  Number. Street, City, State & ZIP Code


                                 Contact phone       806-765-7491                  Ema!I address      drl@mhba.com


                                 11923800 TX
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                  Case 18-50214-rlj11 Doc 1 Filed 08/01/18                     Entered 08/01/18 09:52:03                  Page 5 of 5
Debtor     Reagor-Dykes Motors, LP                                                          Case number (if known)
                                                                                                                     ---------------
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (If known)     ________________ Chapter                                   11
                                                                                                                      C   Check if this an
                                                                                                                          amended filing




                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Reagor Dykes Auto Company, LP                                           Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                        Case number, if known

Debtor     Reagor Dykes lmeorts, LP                                                Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                        Case number, 1f known

Debtor     Reagor Dykes Plainview, LP                                              Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                        Case number, if known

Debtor     Reagor-Dykes Amarillo, LP                                               Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                        Case number, if known

Debtor     Reagor-Dykes Floydada, LP                                               Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                         Case number, 1f known




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
